Case 2:19-cr-00877-CCC Document 261-2 Filed 09/21/22 Page 1 of 4 PageID: 3998




UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
--------------------------------------------------------- X
                                                          :
UNITED STATES OF AMERICA,
                                                          :
                  -against-                                   Crim. No. 2:19-cr-877-CCC
                                                          :
MATTHEW BRENT GOETTSCHE,
RUSS MEDLIN,                                              :   [Proposed] Sealing Order
JOBADIAH SINCLAIR WEEKS,
JOSEPH FRANK ABEL, and                                    :
SILVIU CATALIN BALACI
                                                          :
                           Defendants.
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Case 2:19-cr-00877-CCC Document 261-2 Filed 09/21/22 Page 2 of 4 PageID: 3999




        THIS MATTER having come before the Court on the motion of Defendant Matthew

Brent Goettsche, through counsel, to seal the unredacted version of his Motion to Modify

Conditions of Pretrial Release (the “Filing), the Court having considered the position of all

parties and having read and considered all documents submitted in connection with this motion,

hereby adopts the following Findings of Fact and Conclusions of Law:

   I.      FINDINGS OF FACT

   1. Defendant Goettsche seeks to permanently seal, and/or redact certain confidential or

        sensitive information.

   2. Local Civil Rule 5.3(c) requires the moving party to show:

           a. The nature of the materials or proceedings at issue;

           b. The legitimate private or public interest which warrant the relief sought;

           c. The clearly defined and serious injury that would result if the relief sought is not

               granted;

           d. Why a less restrictive alternative to the relief sought is not available;

           e. Any prior order sealing the same materials in the pending action; and

           f. The identify of any party or nonparty known to be objecting to the sealing

               request.

   3. The Court finds that the unredacted Filing contains information that, if disclosed, would

        violate the Protective Order and Local Civil Rule 5.2(16)-(17).

   4. The Court finds that, because the Filing addresses issues raised and provisionally

        redacted by Defendant Goettsche in the Filing, a less restrictive alternative to redaction is

        not available.




                                                  2
Case 2:19-cr-00877-CCC Document 261-2 Filed 09/21/22 Page 3 of 4 PageID: 4000




   5. The Government expressed that it does not intend to object to Defendant Goettsche’s

         sealing motion.

   II.      CONCLUSIONS OF LAW

   6. Generally, "[t]here is a strong presumption of public access to judicial records and

         documents." In re Zimmermann, 739 F.App'x 101, 103 (3d Cir. 2018). That presumption,

         however, "is not absolute" and is rebuttable. In re Cendant Corp., 260 F.3d 183, 194 (3d

         Cir. 2001) (internal quotation marks and citations omitted). The party moving to seal the

         records bears the burden of demonstrating why restriction is necessary. Id. In order to

         rebut the presumption of public access, the party seeking confidentiality must

         demonstrate "good cause" by establishing that disclosure will cause a '"clearly defined

         and serious injury to the party seeking closure.'" Pansy v. Borough of Stroudsburg, 23

         F.3d 772, 786 (3d Cir. 1994) (quoting Publicker Indus., Inc. v. Cohen, 733 F.2d 1059,

         1071 (3d Cir. 1984)).

   7. "Every court has supervisory power over its own records and files, and access has been

         denied where court files might have become a vehicle for improper purposes." Littlejohn

         v. Bic Corp., 851 F.2d 673, 678 (3d Cir. 1988) (quoting Nixon v. Warner Commc'ns, Inc.,

         435 U.S. 589, 598 (1978)). The District Court has discretion to balance the factors for

         and against access to court documents. See Pansy v. Borough of Stroudsburg, 23 F.3d

         772, 781 (3d Cir. 1994). The sealing of confidential documents and information is an

         accepted practice in the District of New Jersey. See, e.g., In re Gabapentin Patent Litig.,

         312 F. Supp. 2d 653 (D.N.J. 2004).

   8. Accordingly, the Court finds that good cause exists to seal the unredacted Filling under

         the considerations set forth in Pansy v. Borough of Stroudsburg, 23 F.3d 772 9d Cir.


                                                  3
Case 2:19-cr-00877-CCC Document 261-2 Filed 09/21/22 Page 4 of 4 PageID: 4001




     1994). The Court therefore permits the unredacted Filing to be maintained under seal

     until further Order of this Court.

              THEREFORE, for the above reasons, it is on this ___ day of _____, 2022,

              ORDERED that the unredacted version of Defendant Goettsche’s Motion to

     Modify Conditions of Pretrial Release be permanently sealed pursuant to Local Civil

     Rule 5.3(c) and maintained under seal by the Court.



     Dated:                                                ____________________________
                                                           HON. MICHAEL A. HAMMER
                                                           United States Magistrate Judge




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